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                                                                  U.S. Department of Justice
                                                                  Civil Division, Federal Programs Branch
                                                                  950 Pennsylvania Ave., NW
                                                                  Washington, DC 20530



By ECF                                                                                  May 20, 2022
The Honorable Frederic Block
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 10007

        Re:      Tanya Asapansa-Johnson Walker, et al. v. Xavier Becerra, et al, No. 20-cv-02834 (FB) (SMG)

Dear Judge Block:
         On behalf of the parties to this Action, undersigned counsel respectfully submit this status report
letter as to the progress of the United States Department of Health and Human Services’s (“HHS”)
proposal to revise its regulations implementing Section 1557 of the Affordable Care Act. HHS has
submitted a draft of the proposed rule to the Office of Management and Budget’s Office of Information
and Regulatory Affairs (“OIRA”). OIRA received the draft proposed rule on March 22, 2022. The status
of       the      proposed        rule      is      available    at       the       following       website:
https://www.reginfo.gov/public/do/eoDetails?rrid=234566.

        The parties agree that proceedings in this Action should remain stayed pending the completion of
the ongoing administrative rulemaking proceeding, without prejudicing either party’s right to seek leave of
Court to lift the stay for good cause. Should the Court have any questions or concerns, the parties are
happy to appear for a telephonic status conference.

                                                            Respectfully submitted,

        EDWARD J. JACOBS                                    BRIAN M. BOYNTON
                                                            Principal Deputy Assistant Attorney General
        /s/ Edward J. Jacobs
        Baker & Hostetler LLP                               MICHELLE R. BENNETT
        45 Rockefeller Plaza                                Assistant Branch Director
        New York, New York 10111
        Telephone: (212) 589-4200                           /s/ Liam C. Holland
        Facsimile: (212) 589-4201                           LIAM C. HOLLAND
        Email: ejacobs@bakerlaw.com                         Trial Attorney
                                                            United States Department of Justice
        Counsel for Plaintiffs                              Civil Division, Federal Programs Branch
                                                            1100 L Street NW
                                                            Washington, D.C. 20005
                                                            Telephone: (202) 514-4964
                                                            Facsimile: (202) 616-8470
                                                            Email: Liam.C.Holland@usdoj.gov

                                                            Counsel for Defendants
